IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DIS'I`RICT OF TEXAS
SAN ANTONIO DIVISION

MARKEL INTERNATIONAL
INSURANCE COMPANY LIMITED,
Plaintiff

vs.
CIVIL ACTION NO. SAOSCA0160 OG
URBAN, LLC de/a REBAR, RIVER
CITY VENTURES, INC. d/b/a
REVOLUTION ROOM, CAROL
'I`HOMPSON, INDIVIDUALLY AND ON
BEHALF OF THE ESTATE OF SARAH
THOMPSON,

Defendants

WOWQ@WJDOOWO¢OOWD@W$WJWDWQ

DEFENDANTS’ RESPONSE TO PLAINTIFF’S
MOTION FOR FINAL SUMMARY JUDGMENT

TO THE HONORABLE JUDGE OF THIS COURT:
Defendants Carol 'l`hompson, individually and on behalf of the Estate of Sarah Thompson
(collectively, the “Thompsons”), file this Response to Plaintiff’s Motion for Final Summary

Judg;ment and Would respectfully show the Court as folloWs:

l. Introduction

The Thompsonsl sued Defendants Urban LLC, dfb/a Rebar, and River City Ventures, lnc.
d/b/a Revolutiori Room (collectively, the “Bars”) in Texas state court asserting premises liability
claims and alleging the Bars were negligent and liable for the death of Sarah Thompson.
Subsequently, the Bars requested that their insurer, Plaintiff Markel International Irisurance
Compa.ny Limited (“Markel”), defend them against the Thompsons’ claims. Markel declined to
do So Markel contends the Bars’ insurance policies exclude coverage for the Thompsons’ _

claims Based on this contention, Markel insists it has no duty to defend the Bars and is entitled

 

1 Ted Thompson died and the petition was amended to assert claims by Carol 'I'hompson individually and on behalf
of the Estate of Sarah Thornpson, deceased

30950 1

to summary-judgment as a matter of law. Specilically, Marl<el avers the underlying claims
against the Bars are excluded from coverage because: (l) the insurance policies exclude all
claims for “bodily injury” arising out of, caused by or contributed to by the ownership, non-
ownership, maintenance, use, or entrustment to others of an automobile; (2) the Texas Dram
Shop Act is the Thompsons’ exclusive remedy; and, (3) the policies do not provide coverage for
- incidents occurring in a public street. Markel is mistaken

As will be discussed in more detail below, Marl<el has a duty to defend the Bars, its
insureds, if the factual allegations set forth in the Thompsons’ state court suit, when taken as
true, potentially state a claim within the terms of the policy. See Samsung Elec.s. Am., Inc. v.
Federal Ins. Co., 202 S.W.3d 372, 376 ('I`ex. App._Dallas 2006), aj’d by Federal Ins. Co. v.
Samsung Elecs. Am., --- S.W.$d ----, 2008 WL 3991183 (2008). Markel, however, fails to
specifically address Whether the Thompsons’ state law premises liability claims are excluded
from coverage lnstead, Markel provides a woefully incomplete version of the facts in support of
its argument it has no duty to defend its insureds. With regard to their premises liability claims
against the Bars, the Thompsons’ state court petition alleges as follows:

¢ On or about September S, 2005, Sarah Thompson, was struck and killed by a vehicle
operated by Jose Carlo Vara. The incident occurred in the 8100 block of Broadway in
San Antonio, Texas.
0 On the night of the tragedy, Sarah Thornpson was leaving Rebar to visit two other bars
across the street, Revolution Room and Karrna. Friends of hers from law school had
gone to the bars enticed by drink specials and different bands at each bar.

o Sarah had almost walked across all four lanes of Broadway when she Was fatally struck.

0 Sarah Thompson was an invitee and/or licensee of Rebar, Revolution Room and Karma
which are situated on either side of a busy thoroughfare, Broadway.

¢ Sarah Thompson Was a member of the public who Was invited to enter the premises for
the purpose for which it was held open to the public. These bars invited the public to
enter for their pecuniary benefit, and patrons regularly attended more than one of these
bars in an evening

30950 2

0 Rebar, Revolution Room, and Karina knew of an unsafe condition caused by the location
of these bars, and lack of adequate and safe parking

0 The lack of adequate and safe parking meant patrons Would need to park on side streets
or wherever they were able and walk back and forth between bars rather than moving
their cars. The inadequate parking thus created additional pedestrian traffic at a location
where there was no cross walk or street light.

0 Rebar, Revolution Room, and Karma knew of a likelihood of personal injury due to
inadequate parking

¢ Rebar, Revolution Room, and Karrna knew that Broadway_the street on which the
accident occurred-was a dangerous thoroughfare for pedestrians and had actual

knowledge of prior accidents involving pedestrians, drivers, and bar patrons.

0 Rebar, Revolution Room, and Karma failed to provide security, a cross walk, or any
means of ensuring the safety of patrons who must cross the street to enter the bar.

c Rebar, Revolution Room, and Kanna created an unsafe condition by failing to provide
for adequate parking adjacent to each bar, and a safe means by which patrons could cross
the busy street to enter the various bars.

¢ It was foreseeable that patrons of these bars might suffer personal injury by motorists
while trying to cross the street or trying to enter the premises from off-site parking It
was foreseeable that patrons crossing the street to get to their vehicles or parking in
remote areas would be in danger from criminal activity.

See Plaintiffs’ Fifth Arnended Original Petition filed in Carol Thompson, Indz'vidually and on
Behalf of the Esrate Sarah Thompson v. Jose Carlo Vara, et al., currently pending in the 225th
Judicial Distn`ct Court of Bexar County, Texas.2 These facts, when taken as true, support the
existence of a duty owed by the Bars to (a) use ordinary care to protect Sarah Thompson, as an
invitee, from criminal acts of third-parties; (b) either warn Sarah Thompson, as a licensee, of the
unsafe conditions on the Bars’ premises or make the conditions reasonably safe; or (c) use
reasonable care not to jeopardize or endanger the safety of persons, such as Sarah Thompson,

using the roadway which abuts their property. The Thompsons contend the Bars’ violations of

one or more of these duties proximately caused bodily injury and death to Sarah Thompson.

 

2 The Thompsons’ underlying state court petition is attached to this response as Exhibit A for the Court’s
convenience Further, the petition will be referred to as the “State Court Petition.”

30950 3

Premises liability claims such as these are covered under the insurance policies at issue in this
case. Because the Thompsons’ underlying state law claims are covered by the policies, Markel

has a duty to defend the Bars. Consequently, the Court should deny Markel’s motion for

summary judgment
2. Standard of Review

The purpose of summary judgment is to isolate and dispose of factually unsupported
claims or defenses See Celotex Corp. v. Cat‘rett, 477 U.S. 317, 327 (1986). Summary judgment
is proper if “the pleadings, the discovery and disclosure materials on file, and any affidavits
show that there is no genuine issue as to any material fact and that the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(c). A dispute about a material fact is genuine
“if the evidence is such that a reasonable jury could return a verdict for the nonmoving party.”
Anderson v. Lz`berly Lobby, Inc., 477 U.S. 242, 248 (1986). The trial court must resolve all
reasonable doubts in favor of the party opposing the motion for summary judgment Matsushita
Elec. Indus. Co. v. Zenith Raa'io Corp., 475 U.S. 574, 5 87 (1986).

3. Texas Insurance Law & the Dum to Defend

An insurer’s duty to defend arises When a third party sues the insured on allegations that,
if taken as true, potentially state a claim Within the terms of the policy. Samsung Elecs. Am., Inc.
v. Federal Ins. Co., 202 S.W.3d 372, 376 (Tex. App._Dallas 2006), a]j"’d by Federal Ins. Co. v.
Samsmig Elecs. Am., --- S.W.3d ----, 2008 WL 3991183 (2008). The duty to defend is
determined by the allegations in the pleadings and the language of the insurance policy. Id.; see
also National Union Fz`re Ins. Co. v. Merchs. Fast Motor Lines, Inc., 939 S.W.Zd 139, 141 (Tex.
1997). This standard is known as the “eight-corners rule” or the complaint-allegation rule. The
eight-corners rule provides “an insurer’s duty to defend is determined by the third-party

plaintiffs pleadings, considered in light of the policy provisions, Without regard to the truth or

30950 4

falsity of those allegations.” Zurich American Ins. Co., et al. v. Nokia, Inc., --- S.W.Bd ----, 2008
WL 3991183, *2 (Tex. 2008) (quoting GuideOne Elite In.s'. Co. v. Fielder Rd. Baptist Church,
197 S.W.Bd 305, 308 (Tex. 2006)). Thus, “[e]ven if the allegations are groundless, false, or
fraudulent the insurer is obligated to defend.” Id. (quoting 14 Lee R. Russ & Thomas F. Segalla,
Couch on Insurance § 200;19 (3rd ed. 2007)).

When applying the eight corners rule, courts are to give the allegations in the underlying
lawsuit a liberal interpretation in favor of the insured. Samsung Elecs. Am., Inc., 202 S.W.Sd
at376; see also Gore Design Completions, Ltd. v. Hartford Fire Ins. Co., 538 F.3d 365, 369 (Sth
Cir. 2008) (“Allegations are read liberally in favor of the insured.”). Courts presume the facts
alleged in the underlying lawsuit are true When gauging the insurer’s duty to defend. Samsung
Elecs. Am., Inc., 202 S.W.3d at 376 (citing Heyden Newport Chem. Corp. v. S. Gen. Ins. 7Co., 387
S.W.2d 22, 24 (Tex. 1965)). All doubts regarding the duty to defend are resolved in favor of the
duty. Kz'ng v. Dallas Fz're Ins. Co., 85 S.W.3d 185, 187 (Tex. 2002); see also Noble Energy, Inc.,
et al. v. Bitumz`nous Casualry Co., 529 F.3d 642, 646 (5th Cir. 2008). A plaintiffs factual
allegation that potentially support a covered claim is all that is needed to invoke the insurer’s
duty to defend. Guz'a’eOne Elite Ins. Co., 197 S.W.Bd at 310. Moreover, if a complaint
potentially includes a covered claim, the insurer must defend the entire suit. Zurich Amerz`can
Ins. Co., 2008 WL 3991183 at *2. The duty to defend is not negated by the inclusion of claims
that are not covered; rather, it is triggered by the inclusion of claims that might be covered. Id. at
*7. Thus, it is possible an insurer may have a duty to defend but, eventually, no obligation to
indemnify. Farmers Tex. County Mut. Ins. Co. v. Grif]‘in, 955 S.W.2d 81, 82 (Tex.l997). The
insured party bears the initial burden of showing there is coverage, while the insurer bears the
burden of showing that any exclusion in the policy applies. Noble Energy, Inc., et al., 529 F.3d

at 646.

30950 5

lnsurance policies are written contracts, and, as with other contracts, courts interpret and
enforce them according to settled rules of construction Natz`omzl Um`on Fire Ins. Co. v. Crocker,
246 S.W.Bd 603, 606 (Tex. 2008). If a policy’s language can be given a certain or definite legal
meaning or interpretation, then it is not ambiguous and should be construed as a matter of law.
Texas Farm Bureau Mut. Ins. Co. v. Sturrock, 146 S.W.3d 123, l26 (Tex. 2004). Whether a
contract is ambiguous is itself a question of law. Id. An ambiguity does not arise simply
because the parties offer conflicting interpretations of the policy language Id. Rather, an
ambiguity exists only if the contract is susceptible to two or more reasonable interpretations Id.
4. Argument

There is no dispute Markel provided insurance coverage for the Bar for premises liability
Markel contends, however, the Thompsons’ state law claims against the Bars are excluded from
coverage under the policies at issue in this case. The exclusions noted by Markel in its motion
for summary judgment are not applicable to the premises liability claims asserted by the
Thompsons Moreover, the Thompsons’ State Court Petition alleges facts that, when taken as
true, potentially state claims that are covered under the policies Accordingly, Markel has failed
to carry its burden of demonstrating the Thompsons’ claims are excluded and, as a result, has not
established as a matter of law, it has no duty to defend its insureds Thus, this Court should deny
Markel’s motion for summary judgment because Markel has not proven it is entitled to judgment
as a matter of law.

a. The policies’ automobile exclusion is not applicable

The automobile exclusion included in the Bars’ policies provides: “This insurance does
not apply to ‘bodily injury’ or ‘property darnage’ arising out of,' caused by or contributed to by
the ownership, non-ownership, maintenance, use or entrustment to others of any ‘auto.”’ See

Policy Number RAM08188 issued to Urban, LLC d/b/a Rebar (hereinafter, “Urban Policy”) at

30950 6

MKL 01 Endorsement 11 r; see also Policy Number RAM08663 issued to River City Ventures,
Inc. dfb/a Revolution Room (hereinafter, “River City Ventures Policy) at MKL 01 Endorsement
jj r.3 Markel argues the Thompsons’ “suit is one for bodily injury arising out of the use of an
auto,” and the policies exclude coverage for Such claims, so “there simply is no coverage for
Urban and [River City Ventures] and no duty for Markel to defend either in light of this
exclusion.” Markel’s argument, however, simply ignores the fact the Thompsons have alleged
more than one theory regarding the proximate cause of the death of Sarah thompson See Lee
Lewis Constr. v. Harrison, 70 S.W.Sd 778, 784 (Tex. 200l) (acknowledging under Texas law,
“[m]ore than one act may be the proximate cause of the same injury”].

Furthermore, the Thompsons’ premises liability claims against the Bars do not allege
their daughter’s injuries arose out of or were caused by or contributed to by the ownership, non-
ownership, maintenance use or entrustment to others of an automobile lnstead, the Thompsons’
claims allege the Bars’ failed to provide adequate parking next to each bar as well as a safe
means by which patrons could cross the street to enter the bars despite having knowledge of
these dangerous conditions on their premises These failures by the Bars proximately caused
bodily injury and death to Sarah Thompson. See State Court Petition at fm 21~22. Thus, the
automobile exclusion is inapplicable to these claims

b. The ’I`exas Dram Shop Act does not preempt the Thompsons’ common law
premises liability claims

Markel notes the policies’ “Liquor Liability Exclusion” excludes coverage for “bodily

” §§

injury arising out of: (l) causing or contributing to the intoxication of any person; and/or . . .
(4) . . . providing or failing to provide transportation, detaining or failing to detain any person, or

any act of assuming or not assuming responsibility for the well being, supervision or care of any

 

3 The Bars’ insurance policies are attached to this response for the Court’s convenience The Urban Policy is
attached as Exhibit B and the River City Ventures Policy is attached as Exhibit C.

30950 7

person allegedly under or suspected to be under the influence of alcohol.” See Urban Policy at
MKL Endorsement 1[ W; See also River City Ventures Policy at MKL Endorsernent at ll w.
Markel further avers the only remedy the Thompsons have against the Bars is a claim under the
Dram Shop Act. Thus, Markel concludes that because the policies exclude coverage for the only
cause of action allowed under Texas law, which it contends is a Dram Shop claim, it has no duty
to defend the Bars and is entitled to summary judgment as a matter of law. Again, Markel’s
position as to the applicability of this exclusion is based on an inaccurate portrayal of the claims
made against its insureds Moreover, Markel’s conclusion that the Dram Shop Act is the
Thompsons’ exclusive remedy is incorrect

“The [Texas] Legislature enacted the Dram Shop Act to ‘deter providers of alcoholic
beverages from serving alcoholic beverages to obviously intoxicated individuals who may
potentially inflict serious injury on themselves and on innocent members of the general public.”’ j
F.F.P. Opemting Parlners, L.P. v. Duenez, 237 S.W.3d 680, 683 (Tex. 2007) (quoting Smlth v.
Sewell, 858 S.W.Zd 350, 356 (Tex. 1993)). The Dram Shop Act imposes liability on alcoholic
beverage providers for damages proximately caused by the intoxication of individuals who were
served despite being obviously drunk. 20801, Inc. v. Parker, 249 S.W.3d 302, 395 ('l`ex. 2008);
F.F.P. Operaring Partners, L.P., 237 S.W.3d at 684 (“In the Dram Shop Act, the Legislature
created a duty, not recognized at common law, on alcohol providers and increased the potential
liability of providers as a means of deterring providers from serving obviously intoxicated
individuals.”). Thus, under the Dram Shop Act, “[p]rovicling, selling or serving on alcoholic
beverage may be made the basis of a statutory cause of action upon proof that (l) at the time
the provision occurred it Was apparent to the provider that the individual being sold, served, or
provided with an alcoholic beverage was obviously intoxicated to the extent that he presented a

clear danger to himself and others; and (2) the intoxication of the recipient of the alcoholic

30950 8

beverage was a proximate cause of the damages suffered.” Tex. Alco. Bev. Code Ann. § 2.02(b)
(emphasis added). By its own terms, the Dram Shop Act applies to those situations where a
“provider” sells, serves, or provides an alcoholic beverage to an individual.4 Id.; see also Moore,
903 S.W.2d at 903.

Markel would have this Court believe that the Dram `Shop Act’s exclusivity provision
bars all common-law causes of action against commercial sellers of alcohol for any conduct that
in some way involves alcohol. The Texas Supreme Court, however, has specifically rejected that
argument ln D. Houston, Inc. v. Love, sapra, the Court concluded that although the “Drarn
Shop Act was clearly intended to pre-empt common law claims against commercial sellers of
_ alcohol for claims that arise from the sellers’.provision of alcohol,” the Act does not preempt a
common-law claim against a person5 who is licensed or permitted to provide, sell, or serve
alcohol if the person is not being sued as a “provider” of alcohol. The Court’s holding in D.
Houslon, Inc., is bolstered by the plain language of the exclusivity provision. Section 2.03(0) of
the Dram Shop Act States that “[t]his chapter provides the exclusive cause of action for providing
an alcoholic beverage to a person 18 years of age or older.” Tex. Alco. Bev. Code Ann. §
2.03(c) (emphasis added). Moreover, the chapter of the Texas Alcoholic Beverage Code in
which the exclusivity provision is found is entitled “Civil Liabilities for Serving Beverages.”
Therefore, the exclusivity provision does not apply if the cause of action is not predicated on
“providing an alcoholic beverage to a person 18 years of age or older.”

The Dram Shop Act does not preempt the Thompsons’ common law premises liability
claims These claims are not based on the Bars’ provision of alcohol in any fashion. Rather, the

Thompsons’ claims are predicated on the Bars’ failure to properly maintain and remediate

 

4 The term “provider” is statutorily defined to mean a person who sells or serves an alcoholic beverage under

authority of a license or permit issued under the terms of the Code or who otherwise sells an alcoholic beverage to
an individuall Tex. Alco. Bev. Code Ann. § 2.01(1).

5 The term “person” means a natural person or association of natural persons, trustee, receiver, partnership,
corporation, organization or the manager, agent, servant, or employee of any of them. Ia’. § l.04(6).

30950 9

dangerous conditions on their premises that were known or reasonably foreseeable The
Thompsons’ contend the Bars’ breach of duties owed to Sarah Thompson proximately resulted
in her death. The Thompsons’ claims do not involve the provision, sale, or service of alcohol.
Moreover, the Thompsons’ claims against the Bars are not based on any bodily injuries suffered
by their daughter as a result of the Bars’ provision of alcohol or the Bars’ failure to assume
responsibility for the well being of any person suspected to be under the influence of alcohol.
Accordingly, the Dram Shop Act does not apply and does not preempt their premises liability
claims Similarly, the policies’ Liquor Liability Exclusion does not apply to the Thompsons’
claims against the Bars. Markel is not entitled to summary judgment

c. The Thompsons’ claims against the Bars are not excluded from coverage

under the policies simply because Sarah Thompson was struck and killed by
an automobile while she was crossing a public street.

The Bars’ policies provide that the “insurance applies only to locations and operations
that are described on the Declarations page or Extension of Declarations of this policy. lf any
operation(s) and/or location(s) are not described, they are not covered hereunder.” See Urban
Policy at MKL Endorsemerit ll a; see also River City Ventures Policy at MKL Endorsement at 11
a. Markel correctly notes that on both policies the operations and locations described on the
Declarations page include the addresses of the Bars and the fact that the Bars are “taverns.”
Markel relies on this fact to argue the Thompsons’ claims against the Bars are excluded because
the accident in which Sarah Thompson Was struck and killed occurred in the public street rather
than on the premises described in the policies However, the flaw in Markel’s argument is that it
improperly conflates the location of the accident with the location of the underlying negligence
The Thompsons’ premises liability claims against the Bars concern dangerous conditions located

on the Bars’ premises as described in the policies Specifically, the Thompsons’ allege these

dangerous conditions were known or reasonably foreseeable and the Bars’ breach of their duties

30950 10

to remediate the dangerous conditions or to warn of their existence was the proximate cause of
Sarah Thompson’s injuries and death. Thus, the fact Sarah Thompson was not struck on the
Bars’ premises is immaterial because Plaintiffs allege the Bars’ premises as described in policy
was the proximate cause of the injuries Accordingly, this exclusion does not apply. As a matter
of law, summary judgment is not appropriate

d. Any exclusion of coverage relating to punitive damages and any applicable

policy limits included in the Bars’ policies are not applicable to and have no
bearing on Markel’s duty to defend the Bars.

Markel asserts the Bars’ policies contain an endorsement specifically excluding coverage
for punitive damages Whether or not this is true it is immaterial to the larger issue of Markel’s
duty to defend the Bars. The Thompsons seek both compensatory and punitive damages in their
state court suit. Thus, even if the punitive damage exclusion limits ultimate liability by Markel,
it does not eliminate Markel’s duty to defend the Bars. Similarly, the possibility that Markel’s
duty to indenmify its insureds under the policy may be capped at $500,000 has no bearing on
Markel’s duty to defend the Bars. Summary Judgment for Markel should be DEN[ED.

5. Conclusion & Prayer

The Bars’ policies do not expressly exclude coverage for premises liability claims such as
those asserted by the Thompsons in Texas state court Furthermore, when all doubts are resolved
in favor of a duty to defend and all of the facts alleged in the Thompsons’ State Court Petition
are accepted as true, it becomes clear that the Thompsons have alleged facts that potentially
support a covered claim. Markel, however, has failed to demonstrate the Thompsons’ state law
claims against the Bars are excluded from coverage under the policies As a result, Markel has
not met its summary-judgment burden of establishing its right to judgment as a matter of law.

WHEREFORE, PREMISES CONS[DERED, Ted and Carol Thompson, individually and

on behalf of the Estate of Sarah Thompson, requests the Court deny Markel’s motion for

30950 1 1

summary judgment, declare that Markel has a duty to defend the Bars, and for all such other

relief to which they may be entitled

Respectfully submitted,

CLARK, THOMAS & WINTERS
AProfessional Corporation

2632 Broadway, 401 S.

San Antonio, Texas 78215

(210) 582-0220 (reiephone)

(210) 582-0231 (Facsimile)

Lori . '
State ar 0.2118500

ATTORN S FOR PLAINTIFFS

 

CERTIFICATE OF SERVICE

I hereby certify that on the 7th day of November 2008, the above pleading was served on
the following counsel of record in accordance with the Texas Rules of Civil Procedure:

Mark R. Strandmo

BROCK PERSON GUERRA REYNA
1506 Bexar Crossing

San Antonio, Texas 78232-1587

Counsel for lose Carlo Vara, .lr. and lose .l.

Vara

Earle E. Cobb, .lr.

LAW OFFICE OF EARLE E. COBB, .lR.
101 Stumberg

San Antonio, TX 7 8204

Counsel for River City Ventures, lnc. dba
Revolution Room & Urban LLC, dba Rebar

30950

John J. Rivas

R. laime 'l`revino

Rivas Goldstein, LLP

1601 East Sth Street, Suite 101

Austin, Texas 78701

Counsel for Gonzaba Autoplex, GP, LLC dba
Gonzaba Autoplex

George G. Brin

Richard J. Kasson

BRlN & BR[N, PC

10999 I H 10 West, Suite 800

San Antonio, TX 78230

Counsel for I-Carma and General Partner Bad
Monkey Entertainment, LLC dba Karma

12

